Case 4:16-cV-02613 Document 28 Filed in TXSD on 02/27/18 Page 1 of 2

IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

 

United States Court of Appeals
Fifth Circuit

 

No. 17-20093 F|LED
February 5, 2018
D.C. Docket No. 4:16-CV-2613 Ly|e W_ Cayce
Clerk
CAPTAIN MANJIT SANGHA, United States District Court

Southern District of Texas
Plaintiff - Appellant LED

v. - FEB 2 7 2018

NAVIGS SHIPMANAGEMENT PRIVATE LIMITED, Dav'd J_ Brad,ey mark amend

Defendant - Appellee

Appeal from the United States District Court for the
Southern District of TeXas

Before STEWART, Chief Judge, and JOLLY and OWEN, Circuit Judges.
J U D G M E N T

This cause Was considered on the record on appeal and Was argued by
counsel.

lt is ordered and adjudged that the judgment of the District Court is
affirmed

IT IS FURTHER ORDERED that plaintiff-appellant pay to defendant-
appellee the costs on appeal to be taxed by the Clerk of this Court.

 

Certified as a true copy and issued
as the mandate on Feb 27, 2018

Attest: d

Clerk, U.S. £‘ rt of Appe ,Fifth Circuit

Case 4:16-cV-O2613 Document 28 Filed in TXSD on 02/27/18 Page 2 of 2

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTR] PLACE
NEW ORLEANS, LA 70130

February 27, 2018

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. l7-20093 Manjit Sangha v. Navig8 Shipmanagement
USDC No. 4:l6-CV-26l3

Dear Mr. Bradley,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.

Enclosed for the district court and counsel is the approved bill
of costs.

Sincerely,

LYLE w. c;;H:rk
By

Jades deMontluzin, Deputy Clerk
504-310-7679

 

cc:
Mr. Michael Patrick Doyle
Mr. Douglas L. Grundmeyer
Ms. Anjali Nigam
Mr. lvan Mauricio Rodriguez
Mr. Harold Kemler Watson

